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                 EXHIBIT 117
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      |
NIKE INC.,                                            |
                                                      |   No. 1:22-cv-00983-VEC-SN
                       Plaintiff,                     |
                                                      |
   v.                                                 |
                                                      |
STOCKX LLC,
                                                      |
                       Defendant.                     |
                                                      |


    DEFENDANT’S FIRST SUPPLEMENTAL OBJECTIONS AND RESPONSES TO
             PLAINTIFF’S THIRD SET OF INTERROGATORIES

        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure (“FRCP”), and the

Local Rules of the United States District Courts for the Southern and Eastern Districts of New

York (“Local Rules”), Defendant StockX LLC (“StockX”), by and through its undersigned

counsel, hereby objects and responds (these “Responses and Objections”) to Plaintiff Nike,

Inc.’s (“Nike”) Third Set of Interrogatories to Defendant StockX LLC, served by electronic mail

on August 26, 2022 (each individually an “Interrogatory,” collectively the “Third Set of

Interrogatories”).

                               INTRODUCTORY STATEMENT

        These Responses and Objections are based on information currently available to StockX

and its agents, representatives, or attorneys, unless privileged.

        Nothing in StockX’s Responses and Objections herein shall be construed as a waiver of

StockX’s rights to (i) object to the competency, relevance, materiality, or admissibility of any

answers or documents that may be produced in response to the Third Set of Interrogatories;


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(ii) object on any and all grounds, at any time, to the use of any information provided in these

Responses and Objections for any purpose, in whole or in part, in any subsequent stage or

proceeding in this or any other action; (iii) object on any and all grounds, at any time, during any

discovery proceeding relating to the subject matter of any answers that may be produced in

response to the Third Set of Interrogatories; or (iv) assert the attorney-client privilege, the work

product doctrine or any other privilege or right. StockX reserves the right to supplement or

modify these Responses and Objections in the event additional or different information becomes

available to it, through discovery or otherwise.

              OBJECTIONS TO THE DEFINITIONS AND INSTRUCTIONS

       1.      StockX objects to the definitions of “Identify,” “Identification,” and “Identity”

(Definitions 6-9) to the extent they exceed the requirements and definitions set forth in the FRCP

and Local Rules.

       2.      StockX objects to the definition of “Advertising Claims” as vague, ambiguous,

overly broad and unduly burdensome to the extent it purports to encompass unstated and

unspecified claims “without limitation” to those referenced in the First Amended Complaint.

StockX accordingly will interpret the term “Advertising Claims” to refer to those claims

specifically identified in Nike’s First Amended Complaint at Paragraphs 50-53, 110 and 172.

       3.      StockX objects to the definition of “Nike Product” as vague and ambiguous to the

extent it purports to encompass physical, tangible, goods designed, produced, manufactured,

distributed, marketed, sold and/or offered for sale by Nike under some other brand name or

trademark. StockX will interpret “Nike Product” to mean products bearing the Nike trademarks

identified in paragraph 31 of Nike’s First Amended Complaint.


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       4.      StockX objects to the definition of “Nike Trademark” as vague, ambiguous,

overbroad and unduly burdensome to the extent it purports to include all “unregistered

trademarks and service Marks” Nike may claim to own without identification or specificity

beyond the marks listed in the First Amended Complaint. StockX accordingly will interpret the

term “Nike Trademark” to refer to those trademarks referenced in Nike’s First Amended

Complaint at Paragraph 31.

       5.      StockX objects to the definition of the phrase “individuals affiliated with StockX”

as vague, overbroad, and unduly burdensome to the extent it purports to require StockX to

identify any and all Persons employed by or affiliated with third-parties, or independent

contractors retained by StockX.

       6.      StockX objects to the specified relevant time period as overbroad, unduly

burdensome and disproportional to the needs of the case, given that Nike’s allegations regarding

the alleged counterfeiting are related only to the time period between December 2021 and

January 2022, and its First Amended Complaint identifies no facts prior to those dates relevant to

its false advertising claims. Subject to and without waiving the foregoing objections, StockX

agrees to respond as to the same “Relevant Time Period” of July 1, 2020 through May 25, 2022

for these Interrogatories as StockX agreed to apply in connection with Nike’s First Set of

Discovery Requests.

       7.      StockX objects to Instruction Nos. 3, 4, 6, 8, 9, 10 on the ground that each

imposes burdens or obligations on StockX beyond those required by the Federal Rules of Civil

Procedure, Local Rules for the United States District Court for the Southern District of New




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York, or binding case law. StockX will comply with its obligations under the Federal and Local

Rules when responding to these Interrogatories.

                         SPECIFIC OBJECTIONS AND RESPONSES

INTERROGATORY NO. 14:

       Identify and describe in detail all evidence supporting Your Second Affirmative
       Defense for “Fair Use” in the Answer to Nike’s First Amended Complaint.

RESPONSE NO. 14:

       StockX incorporates its Objections to Definitions and Instructions as if fully stated

herein. StockX further objects to Interrogatory No. 14 on the grounds that interrogatories

seeking “all evidence” a party may wish to offer concerning a given issue at trial are considered

improperly overbroad and unduly burdensome in this District. StockX further objects to

Interrogatory No. 14 on the grounds that it is overbroad and unduly burdensome in that it

requests StockX review and “describe in detail” documents which speak for themselves, and

which Plaintiff is equally capable of reviewing and understanding. StockX further objects to

Interrogatory No. 14 on the grounds that it is a premature contention interrogatory that need not

be responded to prior to the close of fact discovery, pursuant to Local Rule 33.3(c) and

applicable case law. Subject to, and without waiving, the foregoing objections, StockX will

provide its response to this interrogatory, if any is required, at the close of fact discovery,

pursuant to Local Rule 33.3(c).

FIRST SUPPLEMENTAL RESPONSE NO. 14:

       Subject to, and without waiving the previously stated objections, which are incorporated

by reference, StockX responds as follows:



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       StockX’s use of Nike’s trademarks on its Vault NFTs is protected by the nominative and

descriptive fair use doctrines. All Nike Products sold by StockX via Vault NFTs were

previously owned products that were lawfully purchased by StockX and were then lawfully

resold by StockX to third parties, who received a digital token representing their ownership of a

physical pair of shoes held by StockX in its vault.

       StockX Vault NFTs were the culmination of a years-long process to make trading on the

StockX platform more efficient and cost effective for consumers by vaulting products to avoid

shipping costs and delays. Vault NFTs associated with Nike Products represent and track proof

of ownership of a corresponding physical Nike sneaker that StockX stores on the owner’s behalf

in StockX’s Vault. Vault NFTs provide their owner with a claim ticket that, if redeemed with

StockX, results in the owner’s Vault NFT being removed by StockX from circulation and the

physical goods that are linked to that Vault NFT being sent by StockX to the Vault NFT owner.

In lieu of redeeming a Vault NFT for the linked physical good, a Vault NFT owner may also sell

their rights to the physical good by selling their Vault NFT through StockX’s marketplace. As

StockX informed its consumers, the Vault NFT itself has no intrinsic value separate and apart

from the associated physical good for which the Vault NFT serves as a claim ticket. The digital

token cannot be separated from, or traded separately from, the associated physical good, and

cannot be traded or used outside of StockX’s marketplace.

                                           CONFIDENTIAL

       In connection with StockX’s lawful resale of the physical Nike shoes that back each

Vault NFT associated with Nike Products, StockX used (1) text containing the accurate name of

the Nike Product being lawfully resold by StockX, and (2) imagery, including photographs taken


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by StockX employees, that accurately depict the Nike Product being lawfully resold by StockX.



                                                                          StockX’s use of Nike

Trademarks in that text and imagery was necessary to describe to the consumer what physical

Nike Product they were buying rights to, represented by their Vault NFT. In particular, in

connection with apparel products like Nike sneakers, a visual and not merely written description

is essential for consumers to understand the precise appearance of the product they are

purchasing, which cannot adequately be conveyed through text. By prominently featuring the

StockX name and logo in connection with the Vault NFT, as well as through other disclosures on

the Vault NFT Product Detail Page, StockX did not convey or represent any sponsorship or

endorsement of Vault NFTs by any third party, including Nike, but instead accurately

represented to consumers that StockX was lawfully reselling a StockX-issued NFT claim ticket

to a product that was held by StockX in its vault. Nor did StockX convey to consumers that they

were purchasing any right to any image associated with a Vault NFT, and StockX is not aware of

any customer who believed that they had purchased rights to an image through their purchase of

a Vault NFT.

                         END OF CONFIDENTIAL DESIGNATION

       StockX’s use of Nike’s trademarks in connection with the Vault NFTs also constitutes

descriptive fair use. StockX uses images and names of Nike products solely to describe what the

Vault NFTs are: a claim ticket to a specific pair of physical Nike sneakers, which are depicted

for the consumer through the use of the product’s name and image (on one of the images

associated with the Vault NFT), which contain third-party trademarks to the extent necessary to


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accurately describe the physical product that the consumer is purchasing via a Vault NFT. The

purpose and function of a Vault NFT cannot be accurately explained without that context;

removing these references would render Vault NFTs nonsensical to consumers.

       In addition to the above, facts supporting StockX’s fair use defense may be ascertained

from documents beginning with following Bates nos. NIKE0005694; NIKE0004356;

STX0031204; NIKE0039854; NIKE0001145; NIKE0000253; NIKE0000395; NIKE0000130;

NIKE0005630; NIKE0000035; NIKE0000878;NIKE0003341; NIKE0003342; NIKE0003207;

NIKE0003197; NIKE0003243; NIKE0000952; NIKE0000942; STX0104547; STX0055701;

STX0046030; STX0144554; STX0061875; NIKE0029037; NIKE0026922; NIKE0038459;

NIKE0027537; and NIKE0026302. Facts supporting these contentions may also be ascertained

from the deposition testimony of Mike Child, Jacob Fenton, Brock Huber, Yasir Malik, and

Shervin Moghaddam.

INTERROGATORY NO. 15:

       Identify and describe in detail all evidence supporting Your Third affirmative
       Defense for “First Sale Doctrine” in the Answer to Nike’s First Amended
       Complaint, including but not limited to evidence that the Nike goods stored in
       Your Vault are genuine Nike goods that were sold by Nike in the first instance.

RESPONSE NO. 15:

       StockX incorporates its Objections to Definitions and Instructions as if fully stated

herein. StockX further objects to Interrogatory No. 15 on the grounds that interrogatories

seeking “all evidence” a party may wish to offer concerning a given issue at trial are considered

improperly overbroad and unduly burdensome in this District. StockX further objects to

Interrogatory No. 15 on the grounds that it is overbroad and unduly burdensome in that it



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requests StockX review and “describe in detail” documents which speak for themselves, and

which Plaintiff is equally capable of reviewing and understanding. StockX further objects to

Interrogatory No. 15 on the grounds that it is a premature contention interrogatory that is

improperly served prior to the close of fact discovery, pursuant to Local Rule 33.3(c) and related

case law. Subject to, and without waiving, the foregoing objections, StockX will provide its

response to this interrogatory, if any is required, at the close of fact discovery, pursuant to Local

Rule 33.3(c).

FIRST SUPPLEMENTAL RESPONSE NO. 15:

       Subject to, and without waiving the previously stated objections, which are incorporated

by reference, StockX responds as follows:

       StockX’s use of Nike’s trademarks in connection with its Vault NFTs is protected by the

first sale doctrine. StockX is a secondary marketplace. All Nike Products sold via StockX Vault

NFTs were first sold by Nike to third parties, and were lawfully purchased by and owned by

StockX from third parties before they were again lawfully resold by StockX to third parties.

Each Vault NFT is tied to a physical product in StockX’s Vault that has been verified through

StockX’s proprietary verification process.

       As StockX informed its consumers, the Vault NFT itself has no intrinsic value separate

and apart from the associated physical good for which the Vault NFT serves as a claim ticket.

The digital token cannot be separated from, or traded separately from, the associated physical

good, and cannot be traded or used outside of StockX’s marketplace. Accordingly, the only

asset of value that customers purchased were physical shoes. Nike has no legal right to restrict

StockX’s advertisement or sale of shoes that StockX bought and planned to and did re-sell,


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particularly where, as here, the images and text describing the product being re-sold were created

by StockX.

       The first sale doctrine also applies where a trademarked good becomes a constituent part

of a new product sold under a distinct trademark. Accordingly, and in the alternative, to the

extent the Vault NFT were to be considered a new or different product, StockX’s use of the Nike

trademark in connection with the Vault NFTs would be protected. StockX’s use of Nike’s

trademarks as part of its Vault NFTs was at all times accurate and merely descriptive of the

physical Nike product owned by the holder of a Vault NFT associated with that Nike product.

       In addition to the above, facts supporting StockX’s first sale doctrine defense may be

ascertained from documents beginning with following Bates nos. STX0123069; STX0131615;

STX0050501; STX0046354; STX0055701; STX0086730; STX0041801; NIKE0026302;

NIKE0027537; NIKE0000130; NIKE0005630; NIKE0000035; NIKE0000878; NIKE0003341;

NIKE0003342; NIKE0003207; NIKE0003197; NIKE0003243; NIKE0000952; and

NIKE0000942. Facts supporting these contentions may also be ascertained from:

https://stockx.com/about/how-it-works/. Facts supporting these contentions may also be

ascertained from the deposition testimony of Mike Child, Brock Huber, Yasir Malik, and

Shervin Moghaddam.

INTERROGATORY NO. 16:

       Identify and describe in detail all evidence supporting Your Seventh Affirmative
       Defense for “Estoppel” in the Answer to Nike’s First Amended Complaint.

RESPONSE NO. 16:




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       StockX incorporates its Objections to Definitions and Instructions as if fully stated

herein. StockX further objects to Interrogatory No. 16 on the grounds that interrogatories

seeking “all evidence” a party may wish to offer concerning a given issue at trial are considered

improperly overbroad and unduly burdensome in this District. StockX further objects to

Interrogatory No. 16 on the grounds that it is overbroad and unduly burdensome in that it

requests StockX review and “describe in detail” documents which speak for themselves, and

which Plaintiff is equally capable of reviewing and understanding. StockX further objects to

Interrogatory No. 16 on the grounds that it is a premature contention interrogatory that is

improperly served prior to the close of fact discovery, pursuant to Local Rule 33.3(c) and related

case law. Subject to, and without waiving, the foregoing objections, StockX will provide its

response to this interrogatory, if any is required, at the close of fact discovery, pursuant to Local

Rule 33.3(c).

FIRST SUPPLEMENTAL RESPONSE NO. 16:

       Subject to, and without waiving the previously stated objections, which are incorporated

by reference, StockX responds as follows: Nike is barred from pursuing its counterfeiting and

false advertising claims based on the equitable doctrine of estoppel.

                                        CONFIDENTIAL

       Since at least 2019, Nike has been aware of StockX’s authentication and verification

practices, and it concealed its views of StockX’s authentication and verification process(es),

including associated advertising and public descriptions of that process, and misrepresented to

StockX and third-parties, in sum and substance and with awareness of StockX’s authentication

and verification practices,


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       Prior to filing this lawsuit, Nike has

                    sent representatives to tour two of StockX’s authentication centers, and




                                                                        At no time did Nike

express concerns regarding StockX’s efforts to prevent counterfeiting



                                  StockX continued to use and improve upon its authentication

and verification process based on the explicit and implied assurances provided by Nike that Nike




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approved of StockX’s practices; StockX has invested millions of dollars and expanded into new

geographic regions subsequent to its work with Nike.

       Further, prior to this lawsuit, StockX had worked with Nike to quickly remediate issues

as to allegedly counterfeit goods users attempted to sell through the StockX platform.




                    Nike intended or expected StockX to rely upon these misrepresentations.

StockX has detrimentally relied on Nike’s praise and approval of StockX’s authentication and

anti-counterfeiting efforts, including in connection with its decision to purchase, verify and sell

Vault NFTs associated with Nike Products and to advertise itself as a marketplace that can

authenticate or verify Nike products, without prior complaint from Nike.

       In addition to the above, facts supporting StockX’s estoppel defense may be ascertained

from documents beginning with following Bates nos. NIKE0039759; STX0773086;

NIKE0030430; STX0773022; NIKE0029089; NIKE0030428; STX0773047; NIKE0035751;

NIKE0035903; NIKE0037191; NIKE0037917; NIKE0038174; NIKE0038184; NIKE0037157;

NIKE0038001; NIKE0036138; NIKE0036142; STX0752605; STX0773984; STX0023851;

STX0190157; STX0069511; STX0069507; and STX0190131. Facts supporting these

contentions may also be ascertained from the deposition testimony of Barbara Delli Carpini,

Brock Huber, Joe Pallett, and Heather Paulson.




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INTERROGATORY NO. 17:

       Identify and describe in detail all evidence supporting Your Eighth Affirmative
       Defense for “Acquiescence” in the Answer to Nike’s First Amended Complaint.

RESPONSE NO. 17:

       StockX incorporates its Objections to Definitions and Instructions as if fully stated

herein. StockX further objects to Interrogatory No. 17 on the grounds that interrogatories

seeking “all evidence” a party may wish to offer concerning a given issue at trial are considered

improperly overbroad and unduly burdensome in this District. StockX further objects to

Interrogatory No. 17 on the grounds that it is overbroad and unduly burdensome in that it

requests StockX review and “describe in detail” documents which speak for themselves, and

which Plaintiff is equally capable of reviewing and understanding. StockX further objects to

Interrogatory No. 17 on the grounds that it is a premature contention interrogatory that is

improperly served prior to the close of fact discovery, pursuant to Local Rule 33.3(c) and related

case law. Subject to, and without waiving, the foregoing objections, StockX will provide its

response to this interrogatory, if any is required, at the close of fact discovery, pursuant to Local

Rule 33.3(c).

FIRST SUPPLEMENTAL RESPONSE NO. 17:

       Subject to, and without waiving the previously stated objections, which are incorporated

by reference, StockX responds as follows:

                                        CONFIDENTIAL

       Nike is barred from pursuing its counterfeiting and false advertising claims based on the

equitable doctrine of acquiescence. Since at least 2019, Nike has been aware of StockX’s



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authentication and verification practices, and it concealed its views of StockX’s authentication

process and apparently misrepresented to StockX and third-parties that it viewed




       Nike has                                                        has sent representatives to

two of StockX’s authentication centers, and

                Prior to this lawsuit,




                                Nike’s perceived support of StockX’s business, including its

authentication and anti-counterfeit efforts, and related delay in asserting any counterfeiting or

false advertising claims, has caused StockX undue prejudice.

       In addition to the above, facts supporting StockX’s acquiescence defense may be

ascertained from documents beginning with following Bates nos. NIKE0039759; STX0773086;

NIKE0030430; STX0773022; STX0773047; NIKE0035751; NIKE0035903; NIKE0037191;

NIKE0037917; NIKE0029089; NIKE0030428; NIKE0038174; NIKE0038184; NIKE0037157;

NIKE0038001; NIKE0036138; NIKE0036142; STX0752605; STX0773984; STX0023851;

STX0190157; STX0069511; STX0069507; and STX0190131. Facts supporting these

contentions may also be ascertained from the deposition testimony of Heather Paulson.

INTERROGATORY NO. 18:

       Describe in detail each and every step of StockX’s proprietary, multi-step
       authentication process to ensure that the products offered for sale are what they



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       claim to be, and are not counterfeit, defective, or used,” as alleged in Paragraph
       11 of the Answer to Nike’s First Amended Complaint.

RESPONSE NO. 18:

       StockX incorporates its Objections to Definitions and Instructions as if fully stated

herein. StockX further objects to Interrogatory No. 18 on the grounds that it is overbroad and

unduly burdensome, and seeks information irrelevant to any party’s claims or defenses, to the

extent it seeks information about StockX’s authentication process for products other than the

Nike products at issue in this litigation. StockX further objects to Interrogatory No. 18 on the

grounds that it is overly broad and unduly burdensome in that it requests StockX describe “each

and every step” of its authentication process, when that information may be derived or

ascertained from documents produced in this action and the burden of deriving or ascertaining

the answer is substantially the same for Plaintiff as for StockX. StockX further objects to

Interrogatory No. 18 on the grounds that the information sought therein may be more practically

obtained through deposition testimony than via interrogatory, pursuant to Local Civil Rule

33.3(b)(1).

       Subject to and without waiving the foregoing Objections, pursuant to FRCP 33(d),

StockX responds that information sufficient to respond to Interrogatory No. 18 can be found at

the documents produced beginning with the following bates nos.: STX0069525, STX0058596,

STX0023851, STX0069511, STX0190116, STX0190121, STX0190131, STX0190137,

STX0190143, STX0190157, STX0190164, STX0190179, STX0190184, STX0190187,

STX0190195, STX0190202, STX0190210, STX0190217, STX0190224, STX0190231,

STX0190260, STX0190271, STX0190284, STX0190295, STX0190301, STX0190310,



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STX0190333, STX0190339, STX0190344, STX0190353, STX0190359, STX0190366,

STX0190374, STX0190382, STX0190387, STX0190398, STX0190437, STX0190442,

STX0190461, STX0190474, STX0190481. STX0190498, STX0190505, STX0190515,

STX0190524, STX0190536, STX0190545, STX0190551, STX0190558, STX0190571.

STX0190633, STX0190659, STX0190672, STX0190682. StockX reserves its right to

supplement its response to Interrogatory No. 18 based on further discovery in this Action.

FIRST SUPPLEMENTAL RESPONSE NO. 18:

       Subject to, and without waiving the previously stated objections, which are incorporated

by reference, StockX responds as follows:

           HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL’S EYES ONLY

       Every product that has been sold via StockX’s platform has gone through StockX’s

proprietary verification process. The verification process reflects StockX’s own standards for

what it considers to be a product that can be transacted on the StockX platform: the product

purchased by the buyer, without any basis for StockX to believe the shoe is worn, defective, or

not genuine.




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      END OF HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL’S EYES ONLY
                           DESIGNATION

       Further, pursuant to FRCP 33(d), StockX responds that information sufficient to respond

to Interrogatory No. 18 can be found at the documents produced beginning with the following

Bates nos.: STX0069525, STX0058596, STX0023851, STX0069511, STX0190116,

STX0190121, STX0190131, STX0190137, STX0190143, STX0190157, STX0190164,

STX0190179, STX0190184, STX0190187, STX0190195, STX0190202, STX0190210,

STX0190217, STX0190224, STX0190231, STX0190260, STX0190271, STX0190284,

STX0190295, STX0190301, STX0190310, STX0190333, STX0190339, STX0190344,

STX0190353, STX0190359, STX0190366, STX0190374, STX0190382, STX0190387,

STX0190398, STX0190437, STX0190442, STX0190461, STX0190474, STX0190481.

STX0190498, STX0190505, STX0190515, STX0190524, STX0190536, STX0190545,

STX0190551, STX0190558, STX0190571. STX0190633, STX0190659, STX0190672,



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STX0190682, STX0752605, STX0773100, STX0773101, STX0773102, STX0773103,

STX0773113, STX0773118, STX0773129, STX0773164, STX0773165, STX0773168,

STX0773169, STX0773170, STX0773171, STX0773172, STX0773834, STX0773971,

STX0773972, STX0773984, STX0774010, STX0774011, STX0774012, STX0774014,

STX0774015, STX0774017, STX0774018, STX0774233, STX0774234, STX0774236, and

STX0774237.

INTERROGATORY NO. 19:

       Identify all evidence that substantiates each of the following Advertising Claims:
       (1) “Guaranteed Authenticity. Every item. Every time. Shop on StockX with
       complete confidence knowing every purchase is 100% Verified Authentic;” (2)
       “StockX has a 99.96% authentication accuracy rate;” (3) “A final check in our
       authentication practice, our QA experts ensure nothing slips through the cracks;”
       and (4) “Always Authentic, Never Fake.”

RESPONSE NO. 19:

       StockX incorporates its Objections to Definitions and Instructions as if fully stated

herein. StockX further objects to Interrogatory No. 19 on the grounds that it is a premature

contention interrogatory that is improperly served prior to the close of fact discovery pursuant to

Local Rule 33.3(c) and related case law. StockX further objects to Interrogatory No. 19 on the

grounds that interrogatories seeking “all evidence” a party may wish to offer concerning a given

issue at trial are considered improperly overbroad and unduly burdensome in this District.

StockX further objects to Interrogatory No. 19 on the ground that it is a compound interrogatory

containing four discrete subparts (asking StockX to identify all evidence that substantiates each

of four discrete and individually numbered advertising claims), each of which count against

Plaintiff’s allotment of interrogatories pursuant to FRCP 33. StockX further objects to



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Interrogatory No. 19 on the grounds that its four discrete subparts constitute the 25th through 28th

interrogatories served on StockX in this litigation, in violation of FRCP 33(a)(1), which states

that “unless otherwise stipulated or ordered by the court, a party may serve on any other party no

more than 25 written interrogatories, including all discrete subparts.” Pursuant to the foregoing

objections, StockX declines to respond to subparts (2)–(4) of this interrogatory because they

exceed the number permitted to Nike under applicable law. As to subpart (1), subject to, and

without waiving, the foregoing objections, StockX will provide its response to this interrogatory,

if any is required, at the close of fact discovery, pursuant to Local Rule 33.3(c).

FIRST SUPPLEMENTAL RESPONSE NO. 19:

       Subject to, and without waiving the previously stated objections, which are incorporated

by reference, StockX responds as follows:

       With regard to the advertising claim “Guaranteed Authenticity. Every item. Every time.

Shop on StockX with complete confidence knowing every purchase is 100% Verified

Authentic,” this advertising claim is substantiated because all of the products a customer

purchases on StockX goes through StockX’s rigorous authentication and verification process

and, if there is a mistake made by StockX in that process, StockX will remedy that mistake by

either providing an equivalent product or issuing full refund. In addition to the above, facts

substantiating this claim may be ascertained from documents beginning with following Bates no.

NIKE0000281; STX0774239; NIKE0001145; and NIKE0064418 and from the deposition

testimony of Jacob Fenton and Brock Huber.

       With regard to the advertising claim “StockX has a 99.96% authentication accuracy rate,”

the statistic for this claim is calculated based on Customer Service data and statistics regarding


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customer returns of products which, upon a second review, were determined not to pass

StockX’s verification process. On average and over time, such accepted returns represented

0.04% of completed transactions. In addition to the above, facts substantiating this statement

may be ascertained from documents beginning with following Bates nos. NIKE0038955;

NIKE0006776; and STX0018010 and from the deposition testimony of Jacob Fenton and Brock

Huber.

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       In addition to the above, facts substantiating this statement may be ascertained from

documents beginning with following Bates nos. NIKE0000281; STX0232285; STX0752605;

STX0774265; STX0191602 and from the deposition testimony of Jacob Fenton, Brock Huber,

and John Lopez.

       With respect to the advertising claim “Always Authentic, Never Fake,” this advertising

claim means that all products a buyer purchases on StockX go through StockX’s rigorous

authentication and verification process and, in the event that there is a mistake and the buyer

does not receive the product they expected, StockX will remedy that mistake by accepting a

return of the product and issuing a full refund, including but not limited to if the product in

question does not meet StockX’s standards for authenticity. Accordingly, StockX guarantees to

buyers on its platform that they will always receive a product StockX believes to be the authentic

product the buyer intended to purchase. In addition to the above, facts substantiating this

statement may be ascertained from documents beginning with following Bates nos.

NIKE0039854; STX0774239; NIKE0001145; and NIKE0064418.

INTERROGATORY NO. 20:

       State the date, by at least month and year, that You first used each Advertising
       Claim in connection with the sale of goods on the StockX platform and, where
       relevant, state the date when You ceased using each Advertising Claim.

RESPONSE NO. 20:



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       StockX incorporates its Objections to Definitions and Instructions as if fully stated

herein. StockX further objects to Interrogatory No. 20 as vague and ambiguous insofar as it does

not define with particularity “each Advertising Claim.” StockX will accordingly interpret “each

Advertising Claim” in Interrogatory No. 20 to incorporate the four specific Advertising Claims

identified in Interrogatory No. 19. StockX further objects to Interrogatory No. 20 on the ground

that it is a compound interrogatory containing eight discrete subparts – requiring StockX to

identify first, the date it began using each of four discrete and individually numbered Advertising

Claims and second, the date it ceased using each of those same four discrete and individually

numbered Advertising Claims – each of which count against Plaintiff’s allotment of

interrogatories pursuant to FRCP 33. StockX further objects to Interrogatory No. 20 on the

grounds that its eight discrete subparts constitute the 29th through 36th interrogatories served on

StockX in this litigation, in violation of FRCP 33(a)(1), which states that “unless otherwise

stipulated or ordered by the court, a party may serve on any other party no more than 25 written

interrogatories, including all discrete subparts.” Pursuant to the foregoing objections, StockX

declines to respond to this interrogatory because it exceeds the number permitted to Nike under

applicable law.

FIRST SUPPLEMENTAL RESPONSE NO. 20:

       Subject to, and without waiving the previously stated objections, which are incorporated

by reference, StockX responds as follows:

   1. “100% Verified Authentic”

           a. First Used: Since at least 2018

           b. Last Used: August 2022


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2. “Verified Authentic”

       a. First Used: Since StockX’s inception

       b. Last Used: Approximately September 2022

3. “Every item sold goes through our proprietary multi-step verification process with our
   team of expert authenticators”

       a. First Used: February 2021

       b. Last Used: Still in use.

4. StockX’s authentication process uses “100+ data points”

       a. First Used: February 2021

       b. Last Used: Approximately September 2022

5. StockX “authenticators are better equipped than anyone to ensure a product’s
   authenticity”

       a. First Used: February 2021

       b. Last Used: Approximately August 2022

6. StockX’s “multi-step verification process”

       a. First Used: February 2021

       b. Last Used: Still in use.

7. StockX’s “proprietary” authentication process

       a. First Used: February 2021

       b. Last Used: Still in use.

8. “Guaranteed Authenticity” as related to products sold on the StockX platform

       a. First Used: Approximately late 2020 through early 2021

       b. Last Used: Approximately August 2022


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9. StockX’s authentication process uses “Advanced Technology”

       a. First Used: February 2021

       b. Last Used: Still in use.

10. StockX’s authentication process uses “Quality Assurance”

       a. First Used: February 2021

       b. Last Used: Still in use.

11. “StockX has a 99.96% authentication accuracy rate.”

       a. First Used: June 2022

       b. Last Used: Approximately August 2022

12. “Always Authentic, Never Fake”

       a. First Used: July 2, 2018

       b. Last Used: By August 30, 2022 at the latest

13. “Guaranteed Authenticity. Every item. Every time. Shop on StockX with complete
    confidence knowing every purchase is 100% Verified Authentic.”

       a. First Used: February 2021

       b. Last Used: August 2022

14. “A final check in our authentication practice, our QA experts ensure nothing slips
    through the cracks.”

       a. First Used: February 2021

       b. Last Used: Approximately August or September 2022

15. “We Authenticate Every Item. Every Time.”

       a. First Used: July 2022

       b. Last Used: September 2022


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   16. “Shop on StockX with complete confidence knowing every purchase is Verified
       Authentic.”

           a. First Used: February 2021

           b. Last Used: Approximately September 2022

INTERROGATORY NO. 21:

       State, on an annual basis for the years 2020 through 2022 (and any additional
       calendar years during which this Action is pending): (1) the number of goods that
       You authenticated, sold to consumers, and subsequently determined to be
       counterfeit; and (2) of the goods identified in response to (1), the number of
       “Nike” or “Jordan” branded goods.

RESPONSE NO. 21:

       StockX incorporates its Objections to Definitions and Instructions as if fully stated

herein. StockX further objects to Interrogatory No. 21 on the grounds that it is vague and

ambiguous for failing to define what constitutes “Nike” or “Jordan” branded goods. StockX

further objects to Interrogatory No. 21 on the ground that it is a compound interrogatory

containing two discrete and individually numbered subparts (first, the number of goods sold to

consumers in each of 2020, 2021 and 2022 that it confirmed were counterfeit; and second, the

number of Nike or Jordan branded goods in each such year), each of which count against

Plaintiff’s allotment of interrogatories pursuant to FRCP 33. StockX further objects to

Interrogatory No. 21 on the grounds that its two discrete subparts constitute the 37th and 38th

interrogatories served on StockX in this litigation, in violation of FRCP 33(a)(1), which states

that “unless otherwise stipulated or ordered by the court, a party may serve on any other party no

more than 25 written interrogatories, including all discrete subparts.” Pursuant to the foregoing




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objections, StockX declines to respond to this interrogatory because it exceeds the number

permitted to Nike under applicable law.

FIRST SUPPLEMENTAL RESPONSE NO. 21:

       Subject to, and without waiving the previously stated objections, which are incorporated

by reference, StockX responds as follows: pursuant to FRCP 33(d), StockX responds that

information sufficient to respond to Interrogatory No. 21 can be found in the document produced

at Bates no. STX0774284.

INTERROGATORY NO. 22:

       Describe in detail each and every step of the authentication process that You
       undertook to make the subsequent determination that a good that You previously
       authenticated and sold to a consumer was counterfeit (as contemplated by
       Interrogatory No. 21) and describe how the subsequent authentication process
       differed from the original authentication process for these goods.

RESPONSE NO. 22:

       StockX incorporates its Objections to Definitions and Instructions as if fully stated

herein. StockX further objects to Interrogatory No. 22 on the ground that it is a compound

interrogatory containing two discrete subparts – first, a description of “each and every step of the

authentication process that You undertook to make the subsequent determination that a good that

You previously authenticated and sold to a consumer was counterfeit” and second, a description

of “how the subsequent authentication process differed from the original authentication process

for these goods” – each of which count against Plaintiff’s allotment of interrogatories pursuant to

FRCP 33. StockX further objects to Interrogatory No. 22 on the grounds that its two discrete

subparts constitute the 39th and 40th interrogatories served on StockX in this litigation, in

violation of FRCP 33(a)(1), which states that “unless otherwise stipulated or ordered by the


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court, a party may serve on any other party no more than 25 written interrogatories, including all

discrete subparts.” Pursuant to the foregoing objections, StockX declines to respond to this

interrogatory because it exceeds the number permitted to Nike under applicable law.

FIRST SUPPLEMENTAL RESPONSE NO. 22:

       Subject to, and without waiving the previously stated objections, which are incorporated

by reference, StockX responds as follows:

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                           DESGINATION

       In addition to the above, facts supporting these contentions may be ascertained from

documents beginning with following Bates nos. STX0774265; and STX0752605 and from the

deposition testimony of John Lopez. Further facts regarding the matters addressed in this

Interrogatory can also be ascertained in StockX’s response to Interrogatory 18.

Dated: March 21, 2023
       New York, New York

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                                    CERTIFICATE OF SERVICE

       I hereby certify that on March 21, 2023 a true and correct copy of StockX’s First

Supplemental Responses and Objections to Nike’s Third Set of Interrogatories was served on all

counsel of record for Plaintiff Nike, Inc. via email, as agreed to by the parties as the preferred

method of service:

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                                             BY: /s/ Justin C. Ferrone
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